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OSLO COLE, CS..€€§"`?¥(. l.P,G D!ST. C`i“,

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Plaintiff,

v. No. 04“2755 B/P

YOUTH VI.LLAGES, ]NC.,

Defendant.

 

ORDER DENYING DEFENDANT’S MOTION TO DISMISS
DUE TO INSUFFICIENT SERVICE OF PROCESS

 

Befcre the Court is the Apn`l 29, 2005 motion to dismiss due to insufficient service of process
by the Defendant, Youth Villages, lnc., against Plaintiff, Oslo Co|e. Defendant submits that Plaintiff
failed to serve process Within 120 days of the filing of the complaint as required by Rule 4(m) of the
Federal Rules of Civil Procedure. However, on May 6, 2005, the Court granted Plaintiff thirty
additional days to serve the Defendant. A review of the Court’s docket sheet reflects that on May
17, 2005 a summons was returned executed against Youth Services, lnc. indicating that it had been
served on April 25, 2005. Accordingly, as service has been accomplished Within the extension of
time given to the Plaintiff, the Court DENIES the Defendant’s motion as moot.

IT IS SO ORDERED this f Zq" day ofJune 2005.

/M

J A iEL BREEN \
IT D sTATEs DisTRiCT JUDGE

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this document entered on fha docket(;heet in cnmp||ence /_\

With Hu|e 56 and/or YQ(a} FHCP on ` ’ 15

 

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Emma Cole

LAW OFFICE OF El\/[MA COLE
2693 Union Ave.7 EXtd.

Ste. 200

l\/lemphis7 TN 38112

Kelly S. Gooch

LEWIS FISHER HENDERSON & CLAXTON, LLP
6410 Poplar Ave.

Ste. 300

l\/lemphis7 TN 38119

Honorable J. Breen
US DISTRICT COURT

